Case 1:20-cr-20266-PCH Document 144 Entered on FLSD Docket 08/24/2021 Page 1 of 12




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

                                CASE NUMBER: 20-cr-20266-PCH

   UNITED STATES OF AMERICA

   Plaintiff,

   v.

   KEITH MAURICE EDWARDS, JR.,

   Defendant.
                                          /

                SENTENCING MEMORANDUM AND REQUEST FOR DOWNWARD
                VARIANCE AS TO DEFENDANT, KEITH MAURICE EDWARDS, JR.


           COMES NOW the Defendant, KEITH MAURICE EDWARDS, JR., by and through

   undersigned counsel, and pursuant to Title 18, USC, § 3553(a), the U.S.S.G., the Sixth

   Amendment, the Due Process Clause of the Fifth Amendment, the United States Constitution,

   and hereby files his Sentencing Memorandum. In support of this memorandum, Mr. Edwards

   sets forth the following statement of facts and legal arguments:




   BRIEF PROCEDURAL HISTORY AND OFFENSE CONDUCT


           1.      On or about October 29, 2020, Mr. Edwards was arrested and charged by

   Criminal Complaint with Conspiracy to Distribute Cocaine, a violation of 21 U.S.C. § 846.

           2.      On October 30, 2020, the Defendant was released on a $75,000, 10% bond and a

   $225,000 personal surety bond. The Defendant’s bond also called for participation in the

   Location Monitoring Program and initially included Home Confinement; conditions were
                             ________________________________________________
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Case 1:20-cr-20266-PCH Document 144 Entered on FLSD Docket 08/24/2021 Page 2 of 12
   U.S. v. Keith M. Edwards, Jr.; Case No.: 20-cr-20266-PCH



   recently amended to allow for only a curfew so that Mr. Edwards can work. He remains in the

   Location Monitoring Program.

            3.       On April 23, 2021, Mr. Edwards pled guilty to Count Seven of the Indictment that

   charged him with Conspiracy to Distribute 500 Grams or More of Cocaine, in violation of Title

   21 U.S.C. § 846.

            4.       Sentencing is now scheduled for August 26, 2021.

            5.       A Pre-Sentence Investigation Report was produced by United States Probation

   Officer, Amanda Crozier, on June 24, 2021. Officer Crozier timely produced her Pre-Sentence

   Investigation Report and provided same to undersigned counsel on or about same date via the

   CM/ECF system.


   OBJECTIONS TO THE PSIR


            6.       Defendant provided his Responses and Objections to the Presentence

   Investigation Report to USPO Crozier on or about July 8, 2021 via letter format. Subsequently, a

   Notice of Filing [D.E. 128] was provided to the Court (at the request of U.S. Probation) that

   included a copy of the objections provided to Officer Crozier and the Government.


            7.       After review of the response by Officer Crozier in her final PSIR [D.E. 123], and

   the omnibus response filed by the United States [D.E. 141], the defendant, through undersigned

   counsel moves to withdraw his objection to the 2-level role adjustment for use of “a special skill,

   in a manner that significantly facilitated the commission or concealment of the offense” pursuant

   to § 3B1.3. A formal reply to the government’s response will also be filed withdrawing that

   objection.




                                                        Page 2 of 12
Case 1:20-cr-20266-PCH Document 144 Entered on FLSD Docket 08/24/2021 Page 3 of 12
   U.S. v. Keith M. Edwards, Jr.; Case No.: 20-cr-20266-PCH



            8.       The single remaining objection for drug quantity that was used to compute the

   Base Offense Level of the PSIR remains, as the proper quantity attributable to Mr. Edwards is

   contained in the Plea Agreement and factual proffer as between 500g to two kilograms, for a

   Base Offense Level of 24.


            9.       Should the single remaining objection be sustained, Mr. Edward’s total offense

   level should be 19, with a corresponding criminal history category I and an advisory sentencing

   guidelines range of 30-37 months.


                                       SENTENCING MEMORANDUM 1


            10.      In United States v. Booker, 125 S. Ct. 738 (2004), the Supreme Court held that the

   United States Sentencing Guidelines, as written, were unconstitutional. The Court created its

   own remedy by excising those portions of the Federal sentencing statutes which made the

   guidelines mandatory to satisfy the Sixth Amendment to the United States Constitution. The

   Supreme Court held that “the Sixth Amendment right to trial by jury is violated where, under a

   mandatory guideline system, the sentence is increased because of an enhancement based on facts

   found by the judge that were neither admitted by the defendant, nor found by the jury.” United

   States v. Rodriguez, 398 F.3d 1291, 1297 (11th Cir. 2005).


            11.      The Supreme Court’s remedial holding in Booker mandates District Courts to

   calculate and apply the guidelines as they now exist, but a Booker error occurs when the District

   Court misapplies the guidelines by considering them binding, as opposed to advisory. United

   States v. Shelton, 400 F.3d 1325, 1330-1331 (11th Cir. 2005).


   1
     This mixed memorandum of law and facts contains arguments pursuant to Title18 USC §3553(a) and other factors
   the Court may consider in fashioning a reasonable and not greater than necessary sentence tailored to this specific
   Defendant.

                                                        Page 3 of 12
Case 1:20-cr-20266-PCH Document 144 Entered on FLSD Docket 08/24/2021 Page 4 of 12
   U.S. v. Keith M. Edwards, Jr.; Case No.: 20-cr-20266-PCH



              12.       The key to any departure within the present advisory guideline scheme is whether

   or not such a departure is unreasonable. On January 13, 2006, in United States v. Williams, 435

   F.3rd 1350 (11th Cir. 2006), the Court affirmed a ninety (90) month sentence which was less than

   half of the lowest sentence within the Advisory Guidelines Range of 188 to 235 months, finding

   that this was a reasonable sentence.2


              13.       In Gall v. United States, 552 U.S. 38 (2007), the Supreme Court rejected an

   appellate rule that requires “extraordinary circumstances to justify a sentence outside the

   Guidelines range,” and held that the federal appeals courts may not presume that a sentence

   falling outside the range recommended by the guidelines is unreasonable (applying that rule to

   Mr. Gall, it upheld a sentence of 36 months probation for his role in a conspiracy to distribute

   ecstasy – contrary to a recommended guideline sentence of 30 to 37 months in prison).


              14.       In Spears v. United States, 555 U.S.261 (2009), the Court emphasized that lower

   courts are in no way bound to apply the sentencing guidelines and can impose a sentence lower

   than the guidelines even if that sentence is based solely on the district court judge’s disagreement

   with them [the guidelines]. The Court adopted the dissents reasoning in Spears II (citation

   omitted) in quoting justice Colloton of the 8th Circuit:


                        “Even when a particular defendant…presents no special mitigating
                        circumstances…no outstanding service to the country or [the]
                        community, no unusually disadvantaged childhood, no overstated
                        criminal history score, no post-offense rehabilitation, a sentencing
                        court may nonetheless vary downward from the advisory guideline
                        range…The only fact necessary to justify such a variance is the
                        sentencing court’s disagreement with the guidelines…”


   2
       Significantly, the Eleventh Circuit has held that a guideline sentence is not per se a reasonable sentence.



                                                          Page 4 of 12
Case 1:20-cr-20266-PCH Document 144 Entered on FLSD Docket 08/24/2021 Page 5 of 12
   U.S. v. Keith M. Edwards, Jr.; Case No.: 20-cr-20266-PCH



            15.      Later that year, in Nelson v. United States, 555 U.S. 350 (2009), the Court

   reversed the Fourth Circuit for affirming a guidelines sentence and noted the district court

   judge’s assertion at sentencing that “[the] guidelines are considered presumptively

   reasonable…unless there’s a good reason in the [application of] 3553(a) factors…the guideline

   sentence is the reasonable sentence.” The Supreme Court explained that: “[T]he Guidelines are

   not only not mandatory on sentencing courts; they are also not to be presumed reasonable. We

   think it plain from the comments of the sentencing judge that he did apply a presumption of

   reasonableness to Nelson’s Guideline range. Under our recent precedents, that constitutes error.”

   (emphasis added).


            16.      Title 18, USC, § 3553(a) which states in its entirety that:


                     The court shall impose a sentence sufficient, but not greater
                     than necessary, to comply with the purposes set forth in
                     paragraph (2) of this subsection. The court, in determining the
                     particular sentence to be imposed, shall consider—

                     (1) the nature and circumstances of the offense and the history
                         and characteristics of the defendant;

                     (2) the need for the sentence imposed—
                     (A) to reflect the seriousness of the offense, to promote respect
                     for the law, and to provide just punishment for the offense;
                     (B) to afford adequate deterrence to criminal conduct;
                     (C) to protect the public from further crimes of the defendant;
                     and
                     (D) to provide the defendant with needed educational or
                     vocational training, medical care, or other correctional
                     treatment in the most effective manner;

                     (3) the kinds of sentences available;

                     (4) the kinds of sentence and the sentencing range established
                     for—
                     (A) the applicable category of offense committed by the
                     applicable category of defendant as set forth in the
                     guidelines—

                                                        Page 5 of 12
Case 1:20-cr-20266-PCH Document 144 Entered on FLSD Docket 08/24/2021 Page 6 of 12
   U.S. v. Keith M. Edwards, Jr.; Case No.: 20-cr-20266-PCH



                     (i) issued by the Sentencing Commission pursuant to section
                     994 (a)(1) of title 28, United States Code, subject to any
                     amendments made to such guidelines by act of Congress
                     (regardless of whether such amendments have yet to be
                     incorporated by the Sentencing Commission into amendments
                     issued under section 994 (p) of title 28); and
                     (ii) that, except as provided in section 3742 (g), are in effect on
                     the date the defendant is sentenced; or
                     (B) in the case of a violation of probation or supervised release,
                     the applicable guidelines or policy statements issued by the
                     Sentencing Commission pursuant to section 994 (a)(3) of title
                     28, United States Code, taking into account any amendments
                     made to such guidelines or policy statements by act of
                     Congress (regardless of whether such amendments have yet to
                     be incorporated by the Sentencing Commission into
                     amendments issued under section 994 (p) of title 28);

                     (5) any pertinent policy statement—
                     (A) issued by the Sentencing Commission pursuant to section
                     994 (a)(2) of title 28, United States Code, subject to any
                     amendments made to such policy statement by act of Congress
                     (regardless of whether such amendments have yet to be
                     incorporated by the Sentencing Commission into amendments
                     issued under section 994 (p) of title 28); and
                     (B) that, except as provided in section 3742 (g), is in effect on
                     the date the defendant is sentenced.[1]

                     (6) the need to avoid unwarranted sentence disparities among
                     defendants with similar records who have been found guilty of
                     similar conduct; and

                     (7) the need to provide restitution to any victims of the offense.


            17.      District courts are only required to give some weight to the advisory guidelines as

   they are to also consider § 3553 factors. U.S. v. McBride, 511 F.3D 1293 (11th Cir. 2007).

            18.      Mr. Edwards, without regurgitating information already contained in the

   Presentence Investigation Report and without requesting a specific sentence, proposes that the

   sentencing goals can be accomplished by looking to the guidelines and §3553 factors such as:




                                                        Page 6 of 12
Case 1:20-cr-20266-PCH Document 144 Entered on FLSD Docket 08/24/2021 Page 7 of 12
   U.S. v. Keith M. Edwards, Jr.; Case No.: 20-cr-20266-PCH



   Nature and Characteristics of Offense and Defendant:

            Mr. Edwards’s offense conduct is contained in the PSIR [D.E.123], and in the Factual

   Proffer [D.E. 86] where it is reflected that Mr. Edwards agreed to serve as security for a

   confidential source that was transporting sham cocaine on September 16, 2020. Mr. Edwards

   was brought into this conspiracy by the co-defendant, Roderick Flowers, who indicated that he

   had a contact that would assist in starting up their private security business. Mr. Edwards

   attended the meeting set up by Flowers on September 14, 2020 where he met the confidential

   source and ultimately agreed to provide security for the CS on September 16th, 2020.

            Mr. Edwards has pleaded guilty and accepted responsibility for his actions.            He

   recognizes his failure as a former police officer, as a father, as a son, as a member of the

   community. Mr. Edwards’s character is further touched upon by the letters filed in support of his

   sentencing hearing (Letters in Support of Sentencing have been filed as a separate docket entry,

   [D.E. 138]).

            Of significance, as briefly stated in the PSIR, Mr. Edwards is the father of three young

   children (Isaiah-age 6, Asia-age 4, and Zion-age 3). Mr. Edwards worked hard to provide for

   them and has maintained an excellent relationship with not just all his children, but also with the

   mothers of his children. Mr. Edwards, although not married to Ms. Kayla Katz or Ms. Crystal

   Bain, has always stood up and taken responsibility for his children. He worked out child support

   payments privately with them and they have all also greed to shared custody of the children. Mr.

   Edwards has resided with his mother to be able to support the children and to facilitate their

   upbringing by having family around for support. Mr. Edwards comes from a tight knit family

   network despite being raised almost solely by his hard-working single mom (Pamela Nelson).




                                                        Page 7 of 12
Case 1:20-cr-20266-PCH Document 144 Entered on FLSD Docket 08/24/2021 Page 8 of 12
   U.S. v. Keith M. Edwards, Jr.; Case No.: 20-cr-20266-PCH



            When one looks at the history of this defendant, it is non-sensical that he would be facing

   these charges. Although aberrant behavior is specifically excepted as a reason for a downward

   departure for these specific charges (see, U.S.S.G. §5K2.20), it is an enumerated factor for a

   variance pursuant to 18. U.S.C. 3553(a). See, form AO 245 SOR, Judgment in a Criminal Case,

   Attachment (Page 3), Statement of Reasons, Section VI(C).




            Mr. Edwards has dedicated these early years of his life to serving his community as both

   a police officer and member of the Army National Guard as pointed out in the letter from his

   brother, Jermaine Levy. Prior to his brief involvement in this matter, Mr. Edwards was a model

   citizen, an exemplary officer, and excellent role model in the community. Should the Court find

   that Mr. Edwards should receive a variance, many of the listed 3553(a) factors contained in the

   Statement of Reasons, supra, can apply to this particular defendant: aberrant behavior, military

   service, remorse, non-violent offender, employment record, community ties, family ties and

   responsibilities, etc.

   The Need for the Sentence Imposed:

            Mr. Edwards has absolutely no criminal history, and no other contacts with law

   enforcement. A sentence within the advisory guideline range would not provide just punishment

   for the offense; further, based on Mr. Edwards’s characteristics, a guideline level term of

                                                        Page 8 of 12
Case 1:20-cr-20266-PCH Document 144 Entered on FLSD Docket 08/24/2021 Page 9 of 12
   U.S. v. Keith M. Edwards, Jr.; Case No.: 20-cr-20266-PCH



   imprisonment is not necessary to deter criminal conduct, and would not lead to further protection

   of the community since Mr. Edwards has shown he is otherwise a productive member of society.

   The above also indicates that there is no need to protect the public from future crimes of the

   Defendant, as the offense conduct was an anomaly in the life of Mr. Edwards.

   The Kinds of Sentences Available:

            Should the Court agree that a proper calculation of the defendant’s Total Offense Level is

   19 in Zone D, undersigned suggests that a sentence within the advisory guideline range (30-37

   months) is not reasonable under the circumstances. The Court can exercise its discretion in

   evaluating the 3553(a) factors to fashion a sentence that could include home confinement, a short

   period of incarceration, or a combination of both and is not limited to the structure of a Zone D

   sentence alone.

            Based on the foregoing and below, when examining the particular facts of this case and

   this particular Defendant, a reasonable and not greater than necessary sentence can be formulated

   by this Court that is well below the sentencing guideline range as proscribed by a cold and barren

   application of solely the guidelines.

   The Need to Avoid Unwarranted Sentence Disparities:

            It is also of note that with respect to this defendant, undersigned counsel would anticipate

   that the Court will be able to observe firsthand that Mr. Edwards should receive a lesser sentence

   than other similarly situated co-defendants.               Mr. Edwards involvement in this matter was

   temporally limited and he was recruited by the co-defendant. Undersigned believes that in order

   to avoid a sentencing disparity, Mr. Edwards arguably should receive a less severe sentence that

   the other participants in the conspiracy. As indicated in the PSIR, Mr. Edwards also met with the

   government to discuss his conduct in this matter and disclose everything he knew about all



                                                        Page 9 of 12
Case 1:20-cr-20266-PCH Document 144 Entered on FLSD Docket 08/24/2021 Page 10 of 12
   U.S. v. Keith M. Edwards, Jr.; Case No.: 20-cr-20266-PCH



   matters contained in the Indictment. Further, Mr. Edwards has maintained the funds to reimburse

   the United States for the official government funds that were paid to him and the co-defendant,

   Roderick Flowers. Although not “extraordinary restitution” of sorts, Mr. Edwards nevertheless

   will pay these monies back as did the co-defendant in this matter.3

            Departures and variances permit courts to impose an appropriate sentence in the

   exceptional case in which mechanical application of the guidelines would fail to achieve the

   statutory purposes and goals of sentencing. Departures and variances also assist in achieving the

   goals and purpose of the United States Sentencing Commission to ensure and maintain

   "sufficient flexibility to permit individualized sentences when warranted by mitigating or

   aggravating factors not taken into account in the establishment of general sentencing practices."

   28 U.S.C. § 991(b)(1)(B).

   Other Factors to be Considered:

            Since his arrest and release in this matter in October 2020, Mr. Edwards has

   demonstrated why a variance or departure from the recommended guidelines should be applied

   in this case. Mr. Edwards was a model police officer and citizen prior to his arrest, and he has

   maintained and will maintain himself as a law abiding citizen upon conclusion of this case. He is

   an exceptional father to three young, wonderful children and holds the highest family values.

            His failure to act according to his ethics and morals in making the poor decision that led

   him to be before this Court has also had collateral consequences which Mr. Edwards has come to

   accept. He is voluntarily relinquishing his law enforcement certification and understands he will

   no longer be a police officer or any other law enforcement officer. He can no longer serve in our

   military. Mr. Edwards is determined to move his life back into the positive direction from where


   3When meeting with the agents in this matter, undersigned and Mr. Edwards also discussed the best
   avenue to ensure reimbursement of these funds.

                                                       Page 10 of 12
Case 1:20-cr-20266-PCH Document 144 Entered on FLSD Docket 08/24/2021 Page 11 of 12
   U.S. v. Keith M. Edwards, Jr.; Case No.: 20-cr-20266-PCH



   he came. He will continue to care for his family and will not allow this error in judgment to

   define him; Mr. Edwards similarly hopes the Court will also look beyond just the relevant

   conduct in this matter when fashioning a reasonable and appropriate sentence.




                                   CONCLUSION & RECOMMENDATION


            19.      Mr. Edwards appears before the Court after having pled guilty to the single count

   levied against him in the Indictment charging him with conspiracy to distribute 500 grams or

   more of cocaine, in violation of 21 U.S.C. § 846.


            20.      He has accepted responsibility for his actions; further, Mr. Edwards has zero

   criminal history points and a criminal history category of I. There remains the issue of the

   quantity of cocaine for which he is to be held responsible for a determination of his base offense

   level; however, once the Court determines a guideline range, and when the Court considers all

   relevant factors, Mr. Edwards requests the court fashion a sentence below the advisory guideline

   range.


            21.      Mr. Edwards respectfully asks this Court to impose a sentence below the advisory

   guideline range and provide for a “reasonable but not greater than necessary” sentence based on

   the advisory guideline range, PSIR, the Objections thereto, the Sentencing Memorandum, the

   Plea Agreement, applicable case law cited, and Title 18 USC § 3553(a).




                                                       Page 11 of 12
Case 1:20-cr-20266-PCH Document 144 Entered on FLSD Docket 08/24/2021 Page 12 of 12
   U.S. v. Keith M. Edwards, Jr.; Case No.: 20-cr-20266-PCH



                                           CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that on August 24, 2021 I electronically filed the foregoing

   document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document

   is being served this day on all counsel of record via transmission Notices of Electronic Filing

   generated by CM/ECF.




                                                              RESPECTFULLY SUBMITTED BY:

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                                                       Page 12 of 12
